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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                          www.flsb.uscourts.gov

In re:
LIZ RAMIREZ,                                                           Case No: 12-23051 AJC
                                                                       Ch 13
            Debtor(s)             /


            EX PARTE MOTION TO APPROVE MORTGAGE MODIFICATION
              AGREEMENT WITH SPECIALIZED LOAN SERVICING LLC

       The above-referenced Debtor requests the Court enter an Order approving the Mortgage

Modification Agreement with Specialized Loan Servicing LLC             (“Lender”) with respect to real

property located at 12695 NW 8 LN, Miami, FL 33182 and states as follows:

       1.        The Court referred this matter to Mortgage Modification Mediation (“MMM”)

                 on March 24, 2016     (ECF # 147).

       2.        The final MMM conference was held on August 29, 2016 .

       3.        The MMM Mediator filed a Final Report of Mortgage Modification Mediator

                 on August 29, 2016 ECF #153), reporting the parties reached an agreement.

       4.        Attached is a copy of the Agreement entered into between the parties

       5.        Pursuant to the Agreement, the Lender will draft all documents required by

       the Agreement, other than pleadings or plans required to be filed in this case.

[For chapter 13 cases only]:

       6.        Pursuant to the Agreement, the Debtor has modified the last filed chapter 13 plan on

October 17, 2016 to provide for the payment.

       7.        All payments shall be considered timely upon receipt by the trustee, not upon receipt

by the Lender.

       8.        The trustee may disburse the payment as adequate protection to the Lender until such



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time as the plan/modified plan is confirmed, or the case is dismissed or converted to another chapter.

WHEREFORE, the Debtor requests the Motion to Approve Mortgage Modification Agreement with

_ Specialized Loan Servicing LLC (“Lender”) be granted and for such other and further relief as this

Court deems proper.

                                  CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a true and correct copy of the Motion to Approve The Mortgage
Modification Agreement with Specialized Loan Servicing LLC, was served by ECF upon the parties listed
below on April 6, 2017.

                                                             Law Offices of Samir Masri
                                                             901 Ponce De Leon Blvd.
                                                             Suite 101
                                                             Coral Gables, FL 33134
                                                             Phone (305) 445-3422


                                                             By:      s/ Samir Masri
                                                                   Samir Masri, Esquire
                                                                   FBN: 145513

Copies to:
Nancy Neidich, Trustee
Specialized Loan Servicing LLC
Samir Masri, Attorney for Debtor
Anthony Roca, Esquire, Mediator




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